                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF TENNESSEE


NIKKI BOLLINGER GRAE, Individually and )           Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )      Honorable Aleta A. Trauger
                             Plaintiff,     )
                                            )      MOTION FOR ADMISSION PRO HAC
      vs.                                   )      VICE
                                            )
CORRECTIONS CORPORATION OF                  )
AMERICA, et al.,                            )
                                            )
                             Defendants.    )
                                            )



         The undersigned counsel for Lead Plaintiff Amalgamated Bank, as Trustee for the LongView

Collective Investment Fund hereby moves for admission to appear pro hac vice in this action. I

hereby certify that I am a member in good standing of the United States District Court for the

Southern District of California. Attached as Exhibit A is a Certificate of Good Standing from that

court. I also declare under penalty of perjury that I am not, nor have I ever been, the subject of

criminal proceedings or disciplinary proceedings by any disciplinary authority, nor have I had a

finding of contempt or a sanction under 28 U.S.C. §1927 against me.

DATED: March 9, 2021                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE
         I hereby certify under penalty of perjury that on March 9, 2021, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and I

hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

non-CM/ECF participants indicated on the attached Manual Notice List.

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